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                       UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF PENNSYLVANIA

                                                   :
IN RE PHILIPS RECALLED CPAP,                       :       Master Docket: No. 21-MC-1230-JFC
BI-LEVEL PAP, AND MECHANICAL                       :
VENTILATOR PRODUCTS                                :
LITIGATION                                         :       MDL No. 3014
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This Document Relates to: All Personal             :
Injury Cases                                       :
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                   Special Discovery Master’s Report and Recommendation
                            on Motion to Enter Pretrial Order #31

I.      Introduction

        The Philips Defendants and Plaintiffs’ Co-Lead Counsel filed a Joint Motion to Enter

Pretrial Order #31 (“Motion”).       Proposed Pretrial Order #31 (“PTO 31”) would establish

procedures for the Philips Defendants to file a Master Third-Party Complaint for contribution

against SoClean, Inc. (“SoClean”) and DW Management Services, LLC (“DW”). SoClean and

DW oppose the Motion, urging the Court to wait until (i) the Court rules on Philips RS North

America, LLC’s Motion to Dismiss the Second Amended Master Personal Injury Complaint

(“Motion to Dismiss”), (ii) a choice-of-law analysis has been done in each case, and (iii) Philips

completes adequate pre-suit investigations. Objection of Non-Parties SoClean, Inc and DW

Management Services, LLC to Proposed Pretrial Order #31 (“SoClean/DW Objection”), p. 3.

The Court asked this Special Master to file a short Report and Recommendation as to whether or

not Defendants should be permitted to file a Master Third-Party Complaint for contribution at

this juncture.1


1    There is no question the mechanism of a Master Third-Party Complaint would be far more efficient
     than 90+ separate motions in individual cases, and SoClean and DW do not contend otherwise. The
     Philips Defendants’ Response to SoClean and DWHP’s Objections to Enter PTO #31 (“Defendants’
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II.      Discussion

         Timing. The Court has wide discretion to manage these MDL proceedings, and there is

nothing in the Rules that limits that discretion in this context.               Federal Rule of Civil

Procedure 14(a)(1) provides: “A defending party may, as third-party plaintiff, serve a summons

and complaint on a nonparty who is or may be liable to it for all or part of the claim against it.”

Only if the “third-party plaintiff . . . files the third-party complaint more than 14 days after

serving its original answer” must it “obtain the court’s leave” by motion. Id. Given that

Defendants have not yet filed an answer, Rule 14 allows them to file a third-party complaint now

without leave of court.
         Defendants cite In re East Palestine Train Derailment, No. 23-cv-242, ECF No. 119 at

38 (N.D. Ohio July 25, 2023), as an example of an MDL court permitting a third-party

contribution complaint while motions to dismiss were still pending. See Defendants’ Response,

p. 11. SoClean and DW contend courts do not routinely permit third-party complaints to be filed

before the underlying pleadings have settled,2 but do not claim the Court is required to wait.

SoClean/DW Objection, p. 9.

         Permitting Defendants to file their contribution claims against SoClean and DW now –

rather than waiting for some undetermined date in the future – also would be far more consistent

with the Court’s overall objective to keep these cases moving. Discovery is scheduled to close

on July 30, 2024, and the Court has repeatedly cautioned the parties against any further delay.
See, e.g. Nov. 9, 2023 CMC Tr., MDL 3014, at 10. If Defendants were required to wait until

they file answers to assert third-party contribution claims, the parties would likely then have to

reopen fact discovery, including with respect to causation, to allow for SoClean’s and DW’s

participation. See 6 Charles Alan Wright & Arthur M. Miller, Fed. Prac. & Proc. Civ. § 1443

      Response”), pp. 6-7, cites a number of MDL court orders requiring the use of a master third-party
      complaint for the sake of efficiency.
2     The only support SoClean and DW cite is a non-MDL case against an insurance company for fire
      damage in which this court exercised its discretion to deny as premature the defendant’s motion to
      file a third-party contribution complaint against various contractors. Cohen v. Ohio Cas. Grp., 2009
      WL 10728666, at *1 (W.D. Pa. Jan. 6, 2009).

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(3d ed. 2023) (“in exercising its discretion the court should endeavor to effectuate the purpose of

Rule 14, which means that impleader is to be allowed if it will avoid circuity of action and

eliminate duplication of suits based on closely related matters”).      Allowing the third-party

contribution claims now would avoid disrupting the existing schedule. This presumably is why

Plaintiffs’ leadership supports the Motion.

        State Laws on Contribution. SoClean and DW highlight that state laws on contribution

vary, and not all states would allow contribution claims in this context – some do not allow

contribution claims between alleged joint tortfeasors, some only allow such claims for some

underlying causes of actions and not for others, and still others allow contributions claims only

after judgment or settlement. This is not a reason to delay the filing of Defendants’ contribution

claims through a master complaint.        The proposed PTO 31 expressly contemplates that

applicable choice of law rules will be determined at a later date. Defendants assure the Court

they “only intend to seek contribution where permitted under state law” and they “will

voluntarily dismiss their contribution claims in those cases in which the applicable state law does

not provide a right of contribution.” Defendants’ Response, p. 4.

        Procedural Fairness. As drafted, PTO 31 would stay all deadlines – including motions

to dismiss, answers or other responsive pleadings to the Master Third-Party Complaint – until

after the Court rules on the Motion to Dismiss. SoClean and DW object that this stay would
deprive them of any opportunity to seek to dismiss the Third-Party Complaint under Rule

12(b)2) (in the case of DW) or Rule 12(b)(6), or to file a motion to strike under Rule 14. In

response, Defendants have eliminated this concern: “Defendants do not object to striking that

provision and proceeding straightaway with any motion to dismiss or motions to strike that

SoClean and DWHP wish to file” with respect to the master third-party complaint. Response,

p.13; see also id., p. 5.

        Merits. Both Defendants and SoClean/DW argue the merits of the proposed contribution

claims, with the former pointing to alleged evidence that ozone cleaners cause foam degradation



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and the other claiming the opposite. Such general causation arguments are for another day, and

are not relevant to the procedural issue before the Court.

       SoClean and DW also rely on the absence of specific causation evidence supporting

Defendants’ Motion.        Defendants’ proposed contribution claims are targeted to the

approximately 94 (out of about 800) Personal Injury Plaintiffs whose Fact Sheets identify any

use of SoClean’s ozone cleaning device on their Respironics device. SoClean and DW point out

that the mere reference by a Plaintiff to using SoClean on their device does not satisfy Philips’

duty to investigate before filing a lawsuit. According to SoClean and DW, of the 94 people who

indicated some use of SoClean, one said they used it three times, another for approximately 2

months, and another for one week. Most of the Fact Sheets do not provide any information on

the frequency or duration of use, which SoClean and DW take to mean there is not a sufficient

factual basis to make inferences about extent of use without additional due diligence.

Defendants’ Response does not address this concern and, putting timing aside, it will be

Defendants’ obligation to satisfy their due diligence duties to the Court.

III.   Recommendation


       It is recommended that the Court enter Pretrial Order #31, but delete paragraph 2 on

page 2 relating to a stay (and renumber subsequent paragraphs accordingly).

                                              Respectfully submitted by:


Dated: April 9, 2024
                                              Carole Katz (PA Id. No. 43911)
                                              Special Discovery Master

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 9th of April, 2024, I electronically filed the foregoing Special

Discovery Master’s Report and Recommendation on Motion to Enter Pretrial Order #31, using

the CM/ECF system which will send notification of such filing to all counsel of record.




                                              Carole Katz, Special Discovery Master
